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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

     Civil Action Number:

     OPEN ACCESS FOR ALL, INC.,
     and ANDRES GOMEZ,

            Plaintiffs,

     vs.

     DEEL SALES, LLC,

            Defendant.


                                           COMPLAINT


            COMES NOW Plaintiff Open Access For All, Inc. and Plaintiff Andres Gomez,

     by and through their undersigned counsel hereby file this Complaint and sue Defendant

     Deel Sales, LLC (“Defendant”) for injunctive relief, attorney’s fees and costs (including,

     but not limited to, court costs and expert fees) pursuant to Title III of the Americans with

     Disabilities Act of 1990, as amended, 42 U.S.C. §§s 12181-12189 (“ADA”), 28 C.F.R.

     Part 36 and alleges as follows:

                                INTRODUCTORY STATEMENT

           1.       Plaintiff Open Access for All, Inc. and Plaintiff Andres Gomez (referenced

     collectively as “Plaintiffs”) bring this action in Federal Court to stop the exclusion of

     blind, vision impaired, and low vision patrons of Defendant’s business.




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           2.      Businesses can make choices (unlike visually impaired individuals) and

    can either make their business inclusive, or they can make them effective Zones of

    Discrimination.

           3.      When businesses offer services that are inaccessible and then do not notice

    the public that those services are inaccessible, those business owners are not only

    marginalizing the visually impaired community but are actively excluding those members

    of the public who are visually impaired from their business.

           4.      This case arises out of the fact that Defendant has operated its business in

    a manner and way that effectively excludes individuals who are visually impaired from

    access to Defendant’s business.

           5.      Defendant owns and operates a place of public accommodation which is

    an auto dealership and auto repair business (“dealership”) under the brand name “Deel

    Volvo.”

           6.      Defendant’s Deel Volvo offers new and used automobiles and repair

    services to the public, which are heretofore referenced as “products and services.”

           7.      This complaint seeks declaratory and injunctive relief to have Defendant

    update its policies and practices to include measures necessary to ensure compliance with

    federal law, to provide auxiliary aids and services for effective communication in

    Defendant’s business (which includes Defendant’s Website) so that individuals who are

    blind or visually impaired can communicate with Defendant effectively and timely such

    that their access to Defendant’s auto dealership (a place of public accommodation) is not

    impeded; as such impediment has rendered Defendant’s physical dealership location not

    fully accessible to the visually impaired.




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                                    JURISDICTION & VENUE

           8.       This is an action for declaratory and injunctive relief pursuant to Title III

    of the Americans With Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), 28 U.S.C. §

    1331, 28 C.F.R. § 36.201 and to prevent discrimination which includes equal access and

    effective communications with Defendant’s business.

           9.       Venue in this Court is proper pursuant to 28 U.S.C. §1391(b) because the

    Defendant is conducting business within the jurisdiction of this court by virtue of the fact

    its website is available to the general public within this district and the acts constituting

    the violation of the ADA occurred in this District. Further, Defendant’s dealership is

    located in the district. In addition, the Defendant is authorized to conduct business within

    the state of Florida as a Florida limited liability company.

           10.      Plaintiffs seek declaratory and injunctive relief pursuant to 28 U.S.C. §§s

    2201 and 2202.

                                           THE PARTIES

     Open Access For All, Inc.

           11.      Plaintiff Open Access For All, Inc. (also referenced as “Plaintiff Open

    Access”, “Open Access,” or jointly with Plaintiff Andres Gomez as “Plaintiffs”) is a

    membership civil rights non-profit corporation formed under the laws of the State of

    Florida which maintains its principal office within this district.

           12.      Open Access members include individuals who are substantially limited in

    the major life activities of seeing/sight.

           13.      Open Access advocates, inter alia, for the full and equal participation of

    its members in all aspects of society.       Open Access is devoted to the goal of full




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    inclusion, equality, and civil rights for its members, who are blind or visually impaired

    and whose lives are directly affected by loss of sight. Open Access’ work is based on a

    close association with its members.

          14.      Open Access members include individuals who are substantially limited in

    the major life activity of sight. Open Access members utilize screen reader software,

    which when utilized allows individuals who are visually impaired to communicate with

    internet websites.

          15.      One or more of Open Access members have tried and have been unable to

    access and comprehend the Defendant’s Website and have standing to bring suit in their

    own right to sue Defendant.       One or more of Open Access members have been

    discriminated against as they have been deterred from (and have been denied the

    opportunity to) participate and benefit from the goods, services, privileges, advantages,

    facilities and accommodations at Defendant's property equal to that afforded to other

    individuals. One or more of Open Access members have a well-grounded belief that any

    attempt to visit Defendant's property free of discrimination would be a futile gesture.

          16.      Open Access members have a realistic, credible, existing and continuing

    threat of discrimination from the Defendant’s non-compliance with the ADA with respect

    to this property as described but not necessarily limited to the allegations contained

    within this Complaint. Open Access members have reasonable grounds to believe that

    they will continue to be subjected to discrimination in violation of the ADA by the

    Defendant.

          17.      Accordingly, the interests that Plaintiff Open Access seeks to protect

    through this litigation are germane to its mission and purpose.




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    Andres Gomez

           18.      Plaintiff Andres Gomez (also referenced as “Plaintiff Gomez” or jointly

    with Plaintiff Open Access as “Plaintiffs”) is a resident of the State of Florida, and he

    resides within this judicial district.

           19.      Plaintiff Gomez is substantially limited in the major life activity of

    sight/seeing and is an Open Access member.

           20.      Plaintiff Gomez is an otherwise qualified or qualified individual with a

    disability in that he is qualified to access Defendant’s Website.

    Deel Sales, LLC

           21.      Defendant Deel Sales, LLC is the owner and operator of an automobile

    dealership under the brand name “Deel Volvo.” Defendant Deel Sales, LLC owns and/or

    operates the Deel Volvo automobile dealership in South Florida.

                                              FACTS

           22.      Defendant’s Deel Volvo auto dealership sells new and used automobiles,

    parts and accessories and is open to the public and is a place of public accommodation

    subject to the requirements of Title III of the ADA and its implementing regulation as an

    “other service establishment” as defined by 42 U.S.C. §12181(7)(E); §12182, and 28

    C.F.R. Part 36. Defendant’s Deel Volvo auto dealership is also referenced throughout as a

    “Place of Public Accommodation,” “dealership,” or “Deel Volvo dealership.”

           23.      Defendant’s dealership also contains automobile service facilities which

    repair automobiles, and as such is also defined as a place of public accommodation as an

    “other service establishment” under 42 U.S.C. §12181(7)(F).




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             24.       Defendant is defined as a “Public Accommodation" within meaning of

    Title III because Defendant is a private entity which owns and/or operates an automobile

    dealership and automotive service center as defined under 42 U.S.C. §§s 12181(7)(E) &

    (F).

             25.       Defendant controls, maintains, and/or operates a collection of related web

    pages, including multimedia content, typically identified with a common domain name,

    and published on at least one web server; namely the domain located at a website called

    www.deelvolvo.net (“Website”).

             26.       Defendant’s Website is offered by Defendant as an electronic on-line auto

    dealership which permits the public to obtain information on Volvo (brand) new

    automobile, various brands of used automobiles (products) and automotive repair

    (services); heretofore, “products and services.” From the Website the public can find out

    the inventory of new and used automobiles in Defendant’s automobile showroom and

    used car lot, become pre-approved for an auto loan, use the online payment calculator,

    schedule a test drive or appointment for automobile service and repair, can live chat with

    a sales representative, and other information Defendant is interested in communicating to

    the public.

             27.       For all of the reasons as delineated herein, clearly, the Website is an

    integral part of the products and services offered by Defendant. By this nexus, the

    Website is characterized as a Place of Public Accommodation pursuant to Title III, 42

    U.S.C. §§s 12181(7)(E) & (F) of the ADA1.


     1
      “The Department of Justice has long taken the position that both State and local government
     Websites and the websites of private entities that are public accommodations are covered by the ADA. In
     other words, the websites of entities covered by both Title II and Title III of the statute are required by



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             28.       Since, at all times material hereto, Defendant has owned and operated the

    Website and the Website is open through the internet to the public as part of its dealership

    and service/repair facilities, Defendant (as the owner/operator of the Website) is defined

    as a “Public Accommodation" within meaning of Title III, 42 U.S.C. §§s 12181(7)(E) &

    (F) and 28 C.F.R. §36.104(2). As such, Defendant has subjected itself and the Website it

    has created and maintains to the ADA.

             29.       Plaintiff Gomez is an individual who is interested in purchasing an

    automobile and such as offered at Defendant’s dealership located at 3650 Bird Road

    Miami Florida 33133.

             30.       In March 2018, Plaintiff Gomez called Defendant to inquire the inventory

    of automobiles (styles, colors, packages for Volvo automobiles) at Defendant’s dealership

    and becoming pre-qualified for an automobile loan. However, Defendant’s representative

    failed to fully assist Plaintiff Gomez and referred him to its Website.

             31.       After being disconnected by Defendant’s representative, Plaintiff Gomez

    tried to interact and engage the Defendant through its Website to find out the styles,

    optional packages for those styles, available colors, and prices on the inventory of cars

    available at the 3650 Bird Road Miami Florida 33133 dealership (which Defendant’s

    representative would not take the time to provide to him over the phone) in order to then

    make plans to travel to the dealership.




     law to ensure that their sites are fully accessible to individuals with disabilities.” ( See: Statement of Eve
     Hill Senior Counselor to the Assistant Attorney General for the Civil Rights Department of Justice -
     Before the Senate Committee on Health, Education, Labor & Pensions United States Senate – Concerning
     The Promise of Accessible Technology: Challenges and Opportunities – Presented on February 7, 2012.



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            32.       Due to his disability, the Plaintiff Gomez requires screen reader software

    to be able to participate in and receive the benefit of the Defendant's online (Website)

    content and electronic documents contained therein.

            33.       When Plaintiff Gomez tried to interact and engage the Defendant through

    its Website, he encountered a Website that was not designed with accessibility (for the

    disabled) in mind.

            34.       Defendant’s Website is not designed with consideration for Universal

    design. Universal design is necessary so visually impaired individuals who use screen

    reader software can access the Website2.

            35.       Furthermore, Defendant’s Website does not have the sign of website

    accessibility3.

            36.       Defendant has not provided any auxiliary aid or service which would

    assist Plaintiff Gomez and Open Access members and/or similarly situated blind or

    visually impaired members of the public to meaningfully access and comprehend

    Defendant’s inventory of new and used automobiles, to become pre-approved for

    automobile financing, or to schedule a test drive or to schedule automobile repair service,

    as this information (and service) is available to the public through Defendant’s Website.

            37.       Defendant’s Website was inaccessible so Plaintiff Gomez (and Open

    Access members) could not learn about the:

                  a. inventory of new and used automobiles,


     2
       “Universal design is the design of products and environments to be usable by all people, to the greatest
     extent possible, without the need for adaption or specialized design.” Kalbag, Laura (2017), by
     Accessibility for Everyone, (p. 5)

     3




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                 b. apply for an automobile loan and become pre-approved prior to coming to
                    the dealership,
                 c. schedule an on-line chat regarding automobiles for sale,
                 d. schedule automobile service or repair.

          38.       As such, Plaintiff Gomez and Open Access members have been denied

    access to Defendant’s dealership and repair services since they are wholly unable obtain

    meaningful information regarding automobiles for sale and financing options (including

    applying for financing online).

          39.       Like any other citizen, Plaintiff Gomez has been frustrated in his inability

    to understand the basic information about Defendant’s automobile inventory and

    financing options. Due to this frustration, Plaintiff Gomez has given up hope of going to

    Defendant’s dealership.

          40.    The fact that Plaintiff Gomez and Open Access members could not access

    the Website Defendant offered left them excluded from accessing the Defendant’s

    products and services offered and further left Plaintiff Gomez and Open Access

    members with the feeling of segregation, rejection, isolation, and unable to participate in

    their own business affairs (such as purchasing a car and financing that car purchase) in a

    manner equal to that afforded to others who are not similarly disabled.

          41.       This inability to participate in Defendant’s products and services has

    resulted in a virtual barrier which has created an effective barrier to access to

    Defendant’s dealership and repair services and to the products and services offered by

    Defendant.     Plaintiff Gomez and Open Access members’ inability to fully use

    Defendant’s Website has hindered, impeded and inhibited their future access to

    Defendant’s physical dealership and automobile repair services.




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            42.      Plaintiff Gomez and Open Access members inability to communicate

     with/comprehend Defendant’s Website has impeded their access to Defendant’s the

     products and services which Defendant offers to the public and has impeded Plaintiff

     Gomez and Open Access members’ ability to patronize Defendant’s physical dealership

     location.

            43.      Plaintiff Gomez and Open Access members continue to desire to patronize

     Defendant, but are unable to do so, as they are unable to obtain the information they

     require through the Website Defendant offers to the public.

            44.      Since Plaintiff Gomez and Open Access members are disabled, they

     require as complete information as possible before arranging transportation and making a

     journey such as to Defendant’s physical dealership location in order to become a

     customer (purchase an automobile or repair/service an automobile). As such, Plaintiff

     Gomez and Open Access members (and others with vision impairments) will suffer

     continuous and ongoing harm from Defendant’s omissions, policies, and practices set

     forth herein unless enjoined by this Court.

            45.      On information and belief, Defendant has not initiated an ADA policy for

     effective communication to insure full and equal use of their business by individuals with

     disabilities.

            46.      On information and belief, Defendant has not designated an employee as

     an Accessibility Coordinator to insure full and equal use of its electronic documents and

     Website (in general) by individuals with disabilities.




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            47.     On information and belief, Defendant has not created and instituted a

     Specialized Customer Assistance line, nor service, or email contact mode for customer

     assistance for the visually impaired.

            48.     On information and belief, Defendant has not created a Website page for

     individuals with disabilities, nor displayed a link and information hotline, nor created an

     information portal explaining when and how the Defendant will have its Website

     accessible to the visually impaired community.

            49.     On information and belief, Defendant has not disclosed to the public any

     intended audits, changes, or lawsuits to correct the inaccessibility of its electronic

     documents and Website (in general).

            50.     On information and belief, Defendant has not offered any form of

     electronic documents in an accessible format for blind or visually impaired individuals.

            51.     Thus, Defendant has not provided full and equal enjoyment of the goods

     and services provided at its dealership.

            52.     All Public Accommodations must insure that their Places of Public

     Accommodation provide Effective Communication for all members of the general

     public, including individuals with disabilities.

            53.     On information and belief, Defendant is aware of the common access

     barriers and barriers to effective communication within its Website which prevent

     individuals with disabilities who are visually impaired from the means to comprehend the

     information presented by Defendant to the public.




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             54.       Defendant and alike automobile dealership and automotive repair centers

     are fully aware of need to provide full access to all visitors to its Website.4

             55.       Such barriers result in discriminatory and unequal treatment of individuals

     with disabilities who are visually impaired and result in punishment and isolation of blind

     and low vision individuals from the rest of society.

             56.       According to the National Federation for the Blind5, there are over seven

     million Americans with visual disabilities (which makes up 2.3% of the population), and

     there are 486,400 individuals with visual disabilities living within the state of Florida6.

             57.       Plaintiff Gomez and Open Access members have no plain, adequate, or

     complete remedy at law to redress the wrongs alleged hereinabove and this suit for

     declaratory judgment and injunctive relief is his only means to secure adequate redress

     from Defendant’s unlawful and discriminatory practices. No price can be put on Plaintiff

     Gomez and Open Access members’ inability to investigate, compare and obtain products

     and services themselves.

             58.       Notice to Defendant is not required as a result of Defendant’s failure to

     cure the violations. Enforcement of the rights of Plaintiff Gomez and Open Access

     members is right and just pursuant to 28 U.S.C. §§ 2201, 2202.




     4
       Major Retailing Trade Magazines have been publishing articles to alert retailer of the need to update their
     websites in light of current legal trends and cases e.g.
     (https://www.digitalcommerce360.com/2016/04/01/web-accessibility-what-e-retailers-need-know/),
      (www.retailingtoday.com/article/lawsuit-highlights-importance-ada-compliance )
     5
       See https://nfb.org/blindness-statistics
     6
       486,400 is the number of non-institutionalized (male and female, all ages and ethnicities) reported to have
     a visual disability in 2015; see https://nfb.org/blindness-statistics




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               59.   Plaintiff Gomez and Plaintiff Open Access For All, Inc. have retained the

     civil rights law office of Scott R Dinin, P.A. and have agreed to pay a reasonable fee for

     services in the prosecution of this cause, including costs and expenses incurred.

       COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

               60.   Plaintiff Andres Gomez and Plaintiff Open Access For All, Inc. re-allege

     and incorporate by reference the allegations set forth herein above.

     Requirement for Effective Communication

               61.   It is irrefutable that the ADA and implementation of ADAAG requires that

     Public Accommodations (and Places of Public Accommodation) are required to ensure

     that communication is effective.

               62.   According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services includes

     “voice, text, and video-based telecommunications products and systems.” 28 C.F.R.

     §36.303(b)(2) specifically states that screen reader software is an effective method of

     making visually delivered material available to individuals who are blind or have low

     vision.

               63.   Section   28    C.F.R.    §36.303(c)   specifically    states   that   public

     accommodations must furnish appropriate auxiliary aids and services where necessary to

     ensure effective communication with individuals with disabilities. “In order to be

     effective, auxiliary aids and services must be provided in accessible formats, in a timely

     manner, and in such a way as to protect the privacy and independence of the individual

     with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

               64.   Part 36 of Title 28 of the C.F.R. was designed and is implemented to

     effectuate subtitle A of Title III of the ADA, which prohibits discrimination on the basis



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     of disability by public accommodations and requires places of public accommodation to

     be designed, constructed, and altered in compliance with the accessibility standards

     established by Part 36.

           65.      Defendant’s Website has not been designed to interface with the widely

     and readily available technologies that can be used to ensure effective communication.

     Defendant’s Business is A Place of Public Accommodation

           66.      By virtue of the fact that Defendant’s dealership is open to the public, it is

     a place of public accommodation pursuant to 42 U.S.C. §§s 12181(7)(E) & (F), it is

     subject to the requirements of Title III of the ADA, and the ADA prohibits any and all

     barriers which would limit access by the visually impaired to such places of public

     accommodation.

           67.      The virtual barrier to access is just as real as a physical barrier to access,

     for without information as to the products and services offered by Defendant’s dealership

     and ability to investigate and choose an automobile dealership, the visually impaired have

     no access to Defendants dealership to purchase an automobile and to obtain financing for

     that purchase which Defendant’s dealership offers to the public.

     The Website As A Place of Public Accommodation

           68.      Consistent with the text and legislative history of the ADA, the

     Department of Justice has long affirmed the application of Title III of the ADA to

     websites of public accommodations7; see Statement of Interest filed by the Department in

     Juan Carlos Gil v Winn Dixie Banks, Inc. No. 16-cv-23020 [DE #23].


     7
      See generally Statement of Interest of the United States, Nat’l Assoc. of the Deaf v.
     Netflix, Inc., 869 F. Supp. 2d 196 (D. Mass. 2012) (No. 3:11-cv-30168), available at



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           69.      District courts within the Eleventh Circuit that have considered the

     question of whether websites are public accommodations have uniformly held that

     websites are subject to the ADA if a plaintiff can establish a nexus between the website

     and the physical premises of a public accommodation. See, Juan Carlos Gil v Winn Dixie

     Banks, Inc. No. 16-cv-23020 [DE #32] Order Denying Defendant’s Motion for Summary

     Judgment, quoting from Plaintiff v. Bang & Olufsen Am., Inc., No. 16-23801 at 9 (citing

     Rendon v. Vallycrest Prods., Inc. 249 F.3d 1279 (11th Cir. 2002) for the proposition that if

     a plaintiff establishes some nexus between the website and the physical place of public

     accommodation, the plaintiff’s ADA claim can survive a motion to dismiss).

           70.      The Courts have held that, when services available on an internet website

     have a connection to a physical Place of Public Accommodation, that website falls within

     the ADA’s Place of Public Accommodation requirement; Peoples v Discover Financial

     Services, Inc., 2009 WL 3030217, 2 (E.D. Pa. 2009).

           71.      The www.deelvolvo.net website is a Place of Public Accommodation

     pursuant to 42 U.S.C. §§s 12181(7)(E) & (F) as an integral part of Defendant’s dealership

     by providing the public information on the physical location of the dealership and offers

     the public the ability to become educated as to the inventory of new and used automobiles




     www.ada.gov/briefs/netflix_SOI.pdf (discussing the Department’s history of public
     pronouncements on the topic); see also Consent Decree, Nat’l Fed. of the Blind and
     United States v. HRB Digital LLC and HRB Tax Group, Inc., No. 1:13-cv-10799-GAO
     (entered March 25, 2014), available at www.ada.gov/hrb-cd.htm 0(comprehensive decree
     governing the accessibility of H&R Block’s website); Settlement Agreement Between
     United States and Ahold U.S.A. Inc. and Peapod LLC (11/17/14), available at
     https://www.ada.gov/peapod_sa.htm (agreement addressing accessibility of online
     grocery service).




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     Defendant offers, financing for those automobiles and auto repair services, and to

     schedule an appointment for a test drive or automobile repair/maintenance.

             72.       In addition, Defendant’s representatives within its dealership location have

     referred customers to Defendant’s Website for additional information, as the Website

     provides information regarding its inventory of automobiles and financing terms such that

     the Website is an integral part of the public’s needs with respect to Defendant’s business.

             73.       It is clear that the ADA applies to the Defendant’s Website, as the Website

     is a Place of Public Accommodation for the following reasons: (1) the statutory

     construction of the ADA demonstrates its applicability is not limited to physical “brick

     and mortar” locations; (2) Congress’ intent was for the ADA to be responsive to changes

     in technology; and (3) the Department of Justice has interpreted the ADA to apply to

     websites.

             74.       The ADA’s legislative history makes it clear that Congress intended the

     ADA to adapt to changes in technology, such as the technology afforded through

     websites, the internet and e-commerce. Congress has stated that “the types of

     accommodation and services provided to individuals with disabilities . . . should keep

     pace with the rapidly changing technology of the times.” Nat'l Ass'n of the Deaf v.

     Netflix, Inc., 869 F. Supp. 2d at 200 (D. Mass. 2012)8 Netflix, (citing H.R. Rep. 101-

     485(II), at 108 (1990)); Nat'l Fedn. of the Blind v. Scribd Inc., 97 F. Supp. 3d, 574 (same)




     8
      the plaintiff sued Netflix, Inc., (“Netflix”) under Title III of the ADA based on Netflix’s failure to provide
     equal access to its video streaming website “Watch Instantly” for deaf and hearing impaired individuals.
     There, the plaintiff alleged the website itself was a place of public accommodation because the website
     qualifies as a “place of exhibition and entertainment,” “place of recreation,” “sales or rental establishment,”
     and “service establishment” as enumerated by the ADA. Id. at 200.



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     (D. Vt. 2015)9 (emphasis added). For example, Congress identified “information

     exchange” (the principal function of a website) as an important area of concern where

     expanding technology would be subject to the ADA. Scribd, 97 F. Supp. 3d at 574 (citing

     H.R. Rep. 101-485(II), at 108 (1990)).

             75.       Recent case law supports that the intangible barriers presented within

     Defendant’s Website are violative of the ADA. In rendering his decision that Winn Dixie

     Banks, Inc.’s website contained barriers to access which are prohibited by the ADA10,

     Judge Scola drew upon the decision in Rendon v. Valleycrest Prods., Inc. 294 F.3d 1279,

     1284 n.8 (11th Cir. 2002), where the Eleventh Circuit noted that the plain language of

     Title III of the ADA covers both tangible, physical barriers that prevent a disabled person

     from accessing a public accommodation, as well as “intangible barriers, such as

     eligibility requirements and screening rules or discriminatory policies and procedures that

     restrict a disabled person’s ability to enjoy the defendant entity’s goods, services and

     privileges . . . .” 249 F.3d at 1283 (emphasis added).

             76.       At the present time and since the Website’s inception, Defendant has

     provided inadequate service, and ineffective communications and services. Plaintiffs’

     injuries are real, have occurred, and are continuing. Plaintiff Gomez and Open Access

     members’ injuries will continue to occur until it is absolutely clear that Defendant’s

     wrongful behavior is remedied.

             77.       Plaintiffs’ position is further supported by recent case law which states

     that organizations which have not fully updated their websites to insure accessibility for

     9
       wherein the plaintiff filed a complaint alleging a violation of the ADA against Scribd, Inc., (“Scribd”), in
     that it provided a digital library operating reading subscription services on its websites and mobile app
     which were incompatible with reader software and denied blind persons’ access to Scribd’s services
     10
        Juan Carlos Gil v Winn Dixie Stores, Inc. No. 16-cv-23020 [DE #63].



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     the visually impaired are not immune to redress. See, Lucia Markett v. Five Guys

     Enterprises LLC No. 17-cv-788 [DE #33] Order Denying Defendant’s Motion To

     Dismiss, where the Honorable Judge Katherine B. Forrest rejected the defendant’s

     argument that Five Guys’ in-process renovation of its website which will eventually

     result in its website being accessible to plaintiff and other blind and visually impaired

     individuals (after the renovation is complete) rendered plaintiff’s claim as moot.

            78.     Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful

     discrimination to deny individuals with disabilities or a class of individuals with

     disabilities an opportunity to participate in or benefit from the goods, services, facilities,

     privileges, advantages, or accommodation, which is equal to the opportunities afforded to

     other individuals.

            79.     Unlawful discrimination includes “a failure to make reasonable

     modifications in policies, practices, or procedures, when such modifications are necessary

     to afford such goods, services, facilities, privileges, advantages, or accommodations to

     individuals with disabilities, unless the entity can demonstrate that making such

     modifications would fundamentally alter the nature of such goods, services, facilities,

     privileges, advantages or accommodations.” 42 U.S.C. § 12182(b)(2)(A)(II).

            80.     Unlawful discrimination also includes “a failure to take such steps as may

     be necessary to ensure that no individual with a disability is excluded, denied services,

     segregated or otherwise treated differently than other individuals because of the absence

     of auxiliary aids and services, unless the entity can demonstrate that taking such steps

     would fundamentally alter the nature of the good, service, facility, privilege, advantage,




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     or accommodation being offered or would result in an undue burden.” 42 U.S.C. §

     12182(b)(2)(A)(III).

     Barriers to Access

           81.      As a result of the inaccessibility of Defendant’s Website to be accessible

     to visually impaired individuals, those visually impaired individuals are denied full and

     equal access to Defendant’s physical dealership location and the online services as

     Defendant has made available to the public through the information provided on

     Defendant’s Website, in derogation of 42 U.S.C. §12101 et. seq., and as prohibited by 42

     U.S.C. §12182 et. seq.

           82.      Defendant’s Website is not accessible to users who are visually impaired

     such that visually impaired are unable to go to the Website and obtain the most

     perfunctory information such as what inventory of automobiles is available for purchase

     or lease, terms for financing such purchase (or lease), or how to pre-qualify for financing.

           83.      Further, the Website does not offer include the universal symbol for the

     disabled11 which would permit disabled individuals to access the Website’s accessibility

     information and accessibility protocols.

           84.      There are readily available, well established guidelines on the Internet for

     making websites accessible to the blind and visually impaired. Incorporating the basic

     components to make its Website accessible would neither fundamentally alter the nature

     of Defendant’s business nor would it result in an undue burden to the Defendant.




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                            , or HTML “Accessibility” link for those individuals who are visually impaired




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     Violations of the ADA

           85.     The Defendant has violated the ADA (and continues to violate the ADA)

     by creating barriers for individuals with disabilities who are visually impaired and who

     require the assistance of interface with screen reader software to comprehend and access

     Defendant’s Website (in general). These violations are ongoing.

           86.     As a result of the inadequate development and administration of

     Defendant’s Website, Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C.

     §12133 and 28 C.F.R. §36.303 to remedy the discrimination.

           87.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

     grant Plaintiff Gomez and Open Access members injunctive relief; including an order to:

        a) Require Defendant to adopt and implement a web accessibility policy to make

            publicly available and directly link from the homepage of the www.deelvolvo.net

            website to a statement as to the Defendant’s policy to ensure persons with

            disabilities have full and equal enjoyment of the services, facilities, privileges,

            advantages, and accommodations through its Website.

        b) Require Defendant to take the necessary steps to make the Website readily

            accessible to and usable by visually impaired users, and during that time period

            prior to the www.deelvolvo.net website’s being readily accessible, to provide an

            alternative method for individuals with visual impairments to access the

            information available on the Website until such time that the requisite

            modifications are made, and

        c) Require Defendant to provide the appropriate auxiliary aids such that individuals

            with visual impairments will be able to effectively communicate with the Website



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             for purposes of viewing and locating the Deel Volvo dealership (location) and

             becoming informed of Defendant’s automobile inventory, financing options (lease

             and purchase), and automobile maintenance and repair services. During that time

             period prior to the Website being designed to permit individuals with visual

             impairments to effectively communicate, requiring Defendant to provide an

             alternative method for individuals with visual impairments to effectively

             communicate so they are not impeded from obtaining the products and services

             made available to the public through Defendant’s Website and through

             Defendant’s physical dealership location.

            88.     Plaintiff Gomez and Open Access members have been obligated to retain

     the undersigned counsel for the filing and prosecution of this action. Plaintiff Gomez and

     Open Access members are entitled to have reasonable attorneys’ fees, costs and expenses

     paid by Defendant Deel Sales, LLC.

                                      DEMAND FOR RELIEF

             WHEREFORE, Plaintiff Andres Gomez and Plaintiff Open Access For All, Inc.

     hereby demand judgment against Defendant Deel Sales, LLC and requests the following

     injunctive and declaratory relief permanently enjoin Defendant from any practice, policy

     and/or procedure which will deny Plaintiff Gomez and Open Access members (and other

     individuals with visual impairments) equal access to, and benefit from Defendant’s

     services, programs, activities and facilities, as well as:

                  a) The Court issue a declaratory judgment that Defendant has violated

                     Plaintiff’s rights as guaranteed by the ADA;




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              b) The Court enter an Order requiring Defendant to update its

                 www.deelvolvo.net website to remove barriers in order that individuals

                 with visual disabilities can access the Website and effectively

                 communicate with the Website to the full extent required by Title III of

                 the ADA;

              c) The Court enter an Order requiring Defendant to clearly display the

                 universal disabled logo12 and sign of website accessibility13 (standard

                 WCAG 2.0) within its Website. Such a clear display is to insure that

                 individuals who are disabled are aware of the availability of the accessible

                 features of the www.deelvolvo.net website;

              d) The Court enter an Order compelling Defendant to contract with an

                 independent ADA expert/consultant for the purposes of that ADA

                 expert/consultant review Defendant’s policies, practices and procedures

                 for five years commencing from the date of the Court’s Order to insure

                 that Defendant is in compliance with the ADA;

              e) The Court enter an order requiring Defendant to provide ongoing support

                 for web accessibility by implementing a website accessibility coordinator,

                 a website application accessibility policy, and providing for website

                 accessibility feedback to insure compliance thereto;




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              f) The Court enter an Order directing Defendant to evaluate its policies,

                 practices and procedures toward persons with disabilities, for such

                 reasonable time so as to allow Defendant to undertake and complete

                 corrective procedures to the Website;

              g) The Court award damages in an amount to be determined at trial;

              h) The Court to award Plaintiff reasonable litigation expenses and attorneys’

                 fees; and

              i) That the Court award such other and further relief as it deems necessary,

                 just and proper.

                 Dated this 20th day of March, 2018.

                                       Respectfully submitted,
                                                                 s/Scott Dinin
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